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                       Exhibit 3
           Declaration of Andre Matevousian

          Prison Legal News v. Fed. Bureau of Prisons,
                   No. 15-cv-02184-RM-STV
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Civil Action No. 15-cv-02184-RM-STV

  PRISON LEGAL NEWS,
  a project of the Human Rights Defense Center,

          Plaintiff,

  v.

  FEDERAL BUREAU OF PRISONS,

          Defendant.


                           DECLARATION OF ANDRE MATEVOUSIAN


          I, Andre Matevousian, pursuant to 28 U.S.C. § 1746, and based upon my personal

  knowledge and information made known to me from official records reasonably relied upon by

  me in the course of my employment, hereby make the following declaration relating to the

  above-entitled matter:

          1.      I am employed by the Federal Bureau of Prisons (Bureau) as the Complex

  Warden at the Federal Correctional Complex in Florence, Colorado. In this capacity, I am also

  the Warden at the United States Penitentiary – Administrative Maximum (ADX), also located in

  Florence, Colorado. I have been in this position since April 2018. I have been employed with

  the Bureau since May 1997. During my tenure with the Bureau, I have served in numerous

  positions of increasing responsibility, including various positions at ten different Bureau

  institutions. I have been an Associate Warden, Acting Warden, and/or Warden since November

  2011.
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          2.      As Warden, I have access to records maintained in the ordinary course of business

  by the Bureau, including policies and procedures specific to the ADX known as Institution

  Supplements. The document attached hereto is a true and accurate copy of a Bureau policy

  maintained in the ordinary course of business.

          3.      As Warden at the ADX, I am very familiar with security protocols of prisons and

  procedures in place to protect institutional security, including physical barriers. I am responsible

  for maintaining security and for all aspects of the day-to-day operations of the ADX. This

  includes protecting staff, inmates and the general public from inmates housed at the ADX, the

  most dangerous, violent, and predatory inmates in the Bureau. The ADX not only houses federal

  offenders, but many dangerous state offenders who are too violent and dangerous to be housed in

  a state department of corrections facility.

          4.      Among my many duties as ADX Warden, I serve as the final authority for

  determining whether incoming publications contain content that is “detrimental to the security,

  good order, or discipline of the institution or . . . might facilitate criminal activity.” See 28

  C.F.R. § 540.71(b). Before my arrival at the ADX, I performed this function at the United States

  Penitentiary (USP) in Atwater, California, the Federal Correctional Institution in Dublin,

  California, and the USP in Victorville, California. In total, I have been reviewing publications

  and determining whether their content poses risks to institutional safety and security of the

  institution, or if their content might facilitate criminal activity, for more than six years.

          5.      I have been made aware of the claims against the Bureau brought in this lawsuit

  filed by Prison Legal News (PLN). I am aware that PLN challenges the rejections by former

  ADX Wardens, or the Warden’s designees, of eleven issues of Prison Legal News, a magazine



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  published by PLN. I am familiar with the current ADX Institution Supplement concerning

  incoming publications, FLM 5266.11E, Incoming Publications (December 21, 2017), as well as

  the prior iterations of that Institution Supplement dated February 2, 2016, and May 30, 2017. A

  copy of the December 21, 2017, Institution Supplement (hereafter, the “December 2017 Policy”)

  is attached to my declaration as Attachment 1.

          6.      Based on my understanding of this lawsuit, there was a past practice of focusing

  on the names of ADX or Bureau inmates or staff members as a basis for rejecting incoming

  publications, or at least flagging those publications for possible rejection. I understand that the

  Bureau has referred to this past practice as the “name alone” practice in this case.

          7.      Under the standard set forth in federal regulations and Bureau policy, in order to

  reject a publication, a Warden “may reject a publication only if it is determined detrimental to

  the security, good order, or discipline of the institution or if it might facilitate criminal activity.”

  See 28 C.F.R. § 540.71(b). The name of an ADX or Bureau inmate or staff member, in and of

  itself, is not a sufficient basis for rejection under 28 C.F.R. § 540.71(b). This standard is

  incorporated in the December 2017 Policy. See Attachment 1 at § III.C.

          8.      However, it would also be contrary to sound correctional judgment to impose a

  rule mandating that incoming publications can never be rejected when they contain the names of

  Bureau inmates or staff. As a Warden with 21 years of correctional experience, I know that there

  are circumstances where identifying an inmate or staff member in a publication, along with other

  information about the inmate or staff member, could place those people, or others associated

  with them, in jeopardy.




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         9.        The December 2017 Policy recognizes these realities of the correctional

  environment:

         An incoming publication at the ADX may not be rejected solely because it discusses
         an ADX or Federal Bureau of Prisons (BOP) inmate, or BOP staff member. When
         a publication identifies and discusses an ADX or BOP inmate, or BOP staff
         member, SIS staff must conduct an individualized assessment of each such
         incoming publication, taking into account specific information about the inmate or
         staff member, the content of the article, how that information may affect
         institutional security at the ADX, and include an evaluation of the factors in 28
         C.F.R. § 540.70(b). Staff should rely upon his/her correctional experience, using
         sound correctional judgment, in making this individualized assessment.

  See Attachment 1 at § III.C. Any issue of Prison Legal News that is sent to the ADX is

  evaluated under these procedures.

         10.       This provision of the December 2017 Policy makes clear that any past practice of

  rejecting publications based on names alone has been abolished at the ADX. The policy also

  ensures that the Warden is allowed to find, based on his sound correctional judgment, that the

  names of Bureau inmates or staff, coupled with more details about the individual, may pose a

  security risk depending on the specific circumstances at that time. As a Warden, I need the

  correctional discretion and flexibility to make that determination as it is never a static

  determination.

         11.       Examples of security risks arising from the identification of persons include

  identifying an inmate sex offender, specifically an inmate who has committed sexual crimes

  against children, or revealing the fact that an inmate was an informant or witness for the

  government. Inmates who cooperate with the government or commit sexual crimes against

  children are viewed as the bottom tier of the prison hierarchy and may be subject to attack

  without provocation. As the Warden, I must take action to attempt to prevent that type of assault



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  from occurring. If an incoming publication highlights these types of facts, and in my

  correctional judgment places an identified inmate at serious risk of harm at the hands of another

  inmate, I will reject the publication and must have discretion to do so. I cannot knowingly

  subject inmates to those risks.

            12.   Requiring a Warden to provide information to the ADX inmate population

  because it is “publicly available,” or possibly “already known” by inmates, would render the

  Warden helpless to take action to prevent any known or reasonably perceived risks. These

  arbitrary rules would pose a serious security risk. As Warden, I must have the discretion to

  reject incoming publications that, in my judgment, pose a security risk to inmates, staff, and the

  public.

            13.   Even if information is “publicly available,” or if some inmates may know that

  information, that does not diminish the negative impact of highlighting and presenting that

  information directly to the dangerous inmate population at the ADX. Oftentimes, inmate rumors

  (i.e., that another inmate cooperated against the government or is a child sex offender) are not

  acted upon until that information is verified. When a publication affirmatively identifies an

  inmate and provides details about his crimes and/or history, that verification increases the risk

  that he will be harmed by other inmates. Based on my many years of correctional experience, I

  know that giving this information to the inmate population creates an immediate safety risk to

  the identified inmate. Taking the proactive step of rejecting an incoming publication that

  presents dangers like these is the correct and safe way to manage a prison.

            14.   This is true even though the ADX has many security protocols. No prison is

  foolproof, and no prison design is immune from breach. There have been many instances at the



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  ADX where inmates have breached security to seriously assault staff and other inmates. On May

  3, 2018, an inmate in B/B Unit, the last phase of the ADX Step-Down Program, was seriously

  injured by another inmate wielding a shank and had to be airlifted to the hospital. ADX staff

  work constantly to prevent such security breaches, including by controlling information inmates

  may possess. Just as it would not be sound correctional practice to supply inmates with weapons

  and expect the security protocols of the ADX to be sufficient, it is not sound correctional practice

  to supply ADX inmates with information that poses a security risk and expect that information

  not to be used in a manner that may jeopardize security at the ADX, in other prisons, and to the

  public.

            15.   In sum, as Warden, I must be able to exercise my correctional judgment to

  determine that there are circumstances in which exposing information about individuals creates

  risks that require rejection of the incoming publication. No ADX security protocol can eliminate

  all such risks. Moreover, there is no way for me to identify every risk that may occur in the

  future. I must conduct that risk analysis at the time I review the publication, in the particular

  context at the time. The many factors I would take into account in reviewing a future publication

  would include the specific content of the publication; facts involving the identified inmate, staff

  member, or other person; the identity of the inmate population at the time, including their

  contacts outside the prison; and a host of other unknown and unknowable factors that may be in

  play at some hypothetical point in the future.

            16.   Section III.C. of the December 2017 Policy prevents rejections of incoming

  publications based on the mere mention of inmates or staff, while giving the Warden the

  necessary discretion to deal with risks that may arise when information about these people is



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  exposed to the ADX inmate population. The ADX will continue to abide by § III.C. of

  December 2017 Policy because it is in accordance with the law and sound correctional judgment.

         17.     The provision of the December 2017 Policy addressing procedures following

  rejections states as follows:

         When an incoming publication is rejected, the Warden will promptly advise the
         inmate and publisher in writing of the decision and the reason(s) for it. The notice
         must contain reference to the specific article(s) or material(s) considered
         objectionable, including page references and quotes from the incoming publication.
         The Warden will advise the publisher or sender that the publisher may obtain
         independent review of the rejection by writing to the Regional Director within 20
         days of receipt of the rejection letter. Ordinarily, the rejection notice will be mailed
         to the publisher within ten business days from the Warden’s signature date.

  Attachment 1 at § III.G.

         18.     The ADX will continue to abide by § III.G. because it is in accordance with

  Bureau regulations and sound correctional judgment. These procedures would be applied if any

  issue of Prison Legal News is ever rejected at ADX in the future.

         19.     I am aware that former ADX Warden Jack Fox reviewed the eleven previously

  rejected issues of Prison Legal News. Following his review, the issues were delivered to inmate

  subscribers in March 2017. See Doc. 66-1 at ¶ 4. I agree with his assessment. The eleven issues

  also would not be rejected under the December 2017 Policy.




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         Pursuant to the provisions of 28 U.S.C. §1746, I declare under penalty of perjury that the

  foregoing is true and correct to the best of my information, knowledge, and belief.

         Executed this 14th day of May 2018, in Florence, Colorado.




                                       s/ Andre Matevousian
                                       Andre Matevousian
                                       Complex Warden
                                       FCC Florence, Colorado
                                       Federal Bureau of Prisons


  Attachment:

  Attachment 1, FLM 5266.11E, Incoming Publications (December 21, 2017)




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                  Attachment 1
        FLM 5266.11E, Incoming Publications
               (December 21, 2017)

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                      U. S. Department of Justice
                      Federal Bureau of Prisons



INSTITUTION SUPPLEMENT

OPI:           Correctional Systems
NUMBER:        FLM 5266.11E
DATE:          December 21, 2017


Incoming Publications
                     /s/
Approved:      Jack Fox, Warden
               ADX Florence

  I.     PURPOSE AND SCOPE: This Institution Supplement is prepared to outline the
         procedures at the United States Penitentiary, Administrative Maximum (ADX), Florence,
         Colorado, for implementing Program Statement 5266.11, Incoming Publications. This
         Institution Supplement must be read in conjunction with the Program Statement for a clear
         understanding of the policy.

 II.     DIRECTIVES AFFECTED:

         A.    Directives Rescinded: FLM 5266.11D, Incoming Publications, dated May 30,
               2017.

         B.    Directives Referenced: Program Statement 5266.11, Incoming Publications, dated
               November 9, 2011.

         C.    Standards Referenced: American Correctional Association 4th Edition Standards
               for Adult Correctional Institution: 4-4490

III.     PROCEDURES:

         A.    All incoming inmate publications will be x-rayed by the receiving Correctional
               Systems Officer (CSO) prior to entering the facility. A further physical search will be
               conducted by the mail room staff.

         B.    The receiving CSO will review all incoming publications for potentially objectionable
               content in accordance with 28 C.F.R. § 540.70 et seq. If content is preliminarily
               deemed objectionable by the receiving CSO, the objectionable incoming publication
               will be forwarded to the Special Investigative Services (SIS) department for
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          additional review in accordance with 28 C.F.R. § 540.70 et seq. SIS staff will review
          each individual incoming publication and, if rejection is recommended, prepare a
          letter for the Warden’s signature. All recommended rejection letters must notate, in
          writing, specific objectionable pages and content, as well as the national policy and
          Code of Federal Regulations citation.

     C.   An incoming publication at the ADX may not be rejected solely because it discusses
          an ADX or Federal Bureau of Prisons (BOP) inmate, or BOP staff member. When a
          publication identifies and discusses an ADX or BOP inmate, or BOP staff member,
          SIS staff must conduct an individualized assessment of each such incoming
          publication, taking into account specific information about the inmate or staff
          member, the content of the article, how that information may affect institutional
          security at the ADX, and include an evaluation of the factors in 28 C.F.R. §
          540.70(b). Staff should rely upon his/her correctional experience, using sound
          correctional judgment, in making this individualized assessment.

     D.   Prior to being sent to the Warden for formal action, all recommended rejection packets
          will be forwarded to the Legal Services department for review.

     E.   When a technical or specialized incoming publication is questioned for acceptability, in
          addition to the above procedures, it will also be forwarded to the department supervisor,
          with knowledge in that field, for further review and a recommendation of approval or
          disapproval. Departments recommending any publication rejection must annotate in
          writing the specific objectionable pages and the national policy cite for the mailroom’s
          records.

     F.   The CSO will contact the Administrative Remedy Coordinator and/or review the appeal
          status in SENTRY before returning any publications, to ensure the inmate has not
          submitted an appeal. If an appeal is lodged, the materials will be held until the appeal
          process is exhausted, including Regional and Central Office appeals. Appeal
          procedures for publications rejected due to its feature of nudity or sexual explicitness
          vary from other publication rejections and are outlined in the national directive.

     G.   When an incoming publication is rejected, the Warden will promptly advise the inmate
          and publisher in writing of the decision and the reason(s) for it. The notice must contain
          reference to the specific article(s) or material(s) considered objectionable, including
          page references and quotes from the incoming publication. The Warden will advise the
          publisher or sender that the publisher may obtain independent review of the rejection by
          writing to the Regional Director within 20 days of receipt of the rejection letter.
          Ordinarily, the rejection notice will be mailed to the publisher within ten business days
          from the Warden’s signature date.

     H.   Inmates involved in approved education courses, which require books that must be
          purchased or obtained on loan from local colleges, may arrange to obtain these books
          through the Supervisor of Education. When the books arrive, a staff member from the
          Education Services department will complete an appropriate inspection, annotate the

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          authorization form, stamp each book as inmate personal property with the inmate's
          name, register number, date received, and the staff member approving the publication
          and provide for book delivery to the inmate.

     I.   Publications will be limited to three publications per parcel. This includes all
          publications received from an authorized source. Any package received that includes a
          number of publications over the established mailing limit will result in the entire package
          being returned to the sender as unauthorized.

     J.   Publications containing metal or thick plastic bindings will not be permitted and will be
          rejected by the mail room staff.

     K.   Inmates are not required, but highly encouraged, to consult with unit team or the
          Supervisor of Education prior to ordering a publication.

     L.   To ensure the security, discipline, and orderly operation, publications in a language
          other than English will be subject to translation, review, and verification, which may
          cause a delay in receipt. This review is necessary to ensure compliance with the
          national directive. Publications which cannot be reasonably translated may be rejected.
          Foreign publications must be received directly from the publisher, a bookstore, or book
          club.

     M.   Inmates will be permitted to receive incoming general correspondence containing
          newspapers or magazine clippings from non-commercial sources, if after review, it is
          determined the newspaper or magazine clipping poses no threat to institution security,
          and the quantity of materials does not adversely affect the ability of mail room staff to
          effectively monitor incoming general correspondence. For purposes of this section,
          incoming general correspondence containing in excess of 50 pages of newspaper or
          magazine clippings adversely affects the ability of staff to effectively monitor incoming
          general correspondence.

     N.   Materials printed directly from the internet will be treated as incoming general
          correspondence, and inmates will be allowed to receive such materials in quantities
          which do not adversely affect staff’s ability to effectively monitor incoming general
          correspondence for contraband and other threats to institutional security and good
          order. Such materials are subject to rejection for content. For purposes of this section,
          incoming general correspondence containing in excess of 50 pages of materials printed
          directly from the internet adversely affects the ability of staff to effectively monitor
          incoming general correspondence.

     O.   Any publication which includes any markings or notations may be regarded as a
          possible code and will be considered for rejection. Examples of this include, but are not
          limited to folded or tagged pages, underlining, highlighting, or any written comments
          within the publication.



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     P.    Unit staff should consult with mail room staff before approving any magazine
           subscription for purchase by an inmate. Prohibited materials that have photographs or
           drawings entirely cut out or removed by the sender, will be authorized, should there be
           no other prohibited sections. Attempts to "cover" nude or sexually explicit pictures will
           not make a publication acceptable for introduction.

     Q.    Hardcover books received in the mail will have the covers removed by mail room staff.
           The inmate must indicate on the hardcover book approval form (Attachment 1) they are
           voluntarily authorizing the removal of the cover. Lack of such authorization will cause
           the entire package to be returned to the sender.

     R.    Publications which are permitted pursuant only to Special Administrative Measures
           (SAM) will be received and processed in accordance with national directives.

     S.    An Attorney from Legal Services will conduct quarterly training with Correctional
           Systems staff and SIS staff regarding the procedures outlined in Program Statement
           5266.11, Incoming Publications, and this supplement.




DISTRIBUTION:


    Directives Libraries                     AFGE




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                                  HARDCOVER REMOVAL APPROVAL


  Name: ____________________________Register Number: ____________________

  Quarters: _______________________

  I request approval for the following hardcover book(s). The book(s) are necessary and
  are not available in paperback. I voluntarily authorize the mail room permission to
  remove the hard cover prior to delivery to me. I understand no more than three
  publications per mailing are permitted. I acknowledge the entire package will be
  returned if any unauthorized items are included and this authorization is good for 60
  days only.

  Title:_______________________________________________________________

  Title:_______________________________________________________________

  Title:_______________________________________________________________


  Name of Publisher/Bookstore/Bookclub: ________________________________

  Address:___________________________________________________________

  Phone Number (for verification purposes by staff): _______________________

  Inmate Signature: ____________________________________________________

  --------------------------------------------------------------------------------------------------------------------

  (Do not write below this line - Staff Use Only)

  Date:___________________ Expiration Date (60 days): ______________________

  To: Mail Room Officer

  The hardcover books listed above have been approved, pending inspection upon
  arrival. The hard cover is to be removed prior to delivery to the inmate.


  Approved:            ________________________
                       Department Head’s Signature




  FLM 5266.11E                                    Incoming Publications                              Attachment 1
